                   UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                        GREENSBORO DIVISION

                          Civil Action Number: 1:21-CV-279


 D/S NORDEN A/S                       )
                                      )
            Plaintiff,                )
                                      )
 v.                                   )          VERIFIED COMPLAINT IN
                                      )               ADMIRALTY
 BLUESTONE COAL SALES                 )
 CORPORATION and                      )
 BLUESTONE RESOURCES,                 )
 INC.                                 )
                                      )
            Defendants.               )

       Plaintiff, D/S NORDEN A/S (hereinafter “Norden” or “Plaintiff”), by and through

undersigned counsel, files this Verified Complaint against Defendants BLUESTONE

COAL SALES CORPORATION (hereinafter “BCSC”) and BLUESTONE RESOURCES,

INC. (hereinafter “BRI”) (collectively referred to as “Defendants”), and alleges as follows:


                                JURISDICTION AND VENUE

       1.     Subject matter jurisdiction of this Honorable Court is based upon admiralty

and maritime jurisdiction pursuant to 28 U.S.C. §1333 and is brought under the provision

of Rule B of the Supplemental Rules for Certain Admiralty and Maritime Claims. This case

is also an admiralty and maritime claim within the meaning of Rule 9(h) of the Federal

Rules of Civil Procedure for a claim of breach of a maritime contract.




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      Case 1:21-cv-00279-TDS-JEP Document 1 Filed 04/01/21 Page 1 of 19
       2.     Venue is proper in this District Court pursuant to 28 U.S.C. §1391(b) because

the property belonging to Defendants is located in the Middle District of North Carolina.

                                         THE PARTIES

       3.     At all times material hereto, Plaintiff was and still is a foreign company

organized under the laws of Denmark.

       4.     Upon information and belief, at all times material hereto, Defendant

Bluestone Coal Sales Corporation was and still is a foreign company organized under the

laws of Delaware with its principal place of business in Roanoke, Virginia.

       5.     Upon information and belief, at all times material hereto, Defendant

Bluestone Resources Inc. was and still is a foreign company organized under the laws of

Delaware with its principal place of business in Roanoke, Virginia.

                                       THE FACTS

       6.     At all times material hereto, Plaintiff was the disponent owner of the M/V

PACIFIC MERIT (hereinafter the “Vessel”).

       7.     On or about May 22, 2020, Plaintiff entered into a charter party agreement

to charter the Vessel to Defendants for the carriage of cargo consisting of 60,000 MT of

coal, 10% more or less in Plaintiff’s option. A copy of the fixture recap (“Recap”) and

charter party (“Charter Party”) is attached hereto as Exhibit 1.

       8.     The charter party agreement for the transport of cargo is a maritime contract.

       9.     Pursuant to Clause 16 of the Recap and Clauses 19 and 43 of the Charter

Party, it is to be governed by English law, and any dispute arising under the agreement

shall be referred to arbitration in London.

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      Case 1:21-cv-00279-TDS-JEP Document 1 Filed 04/01/21 Page 2 of 19
       10.    Pursuant to Clause 12 of the Recap and Clause 20 of the Charter Party,

Plaintiff and Defendants agreed that demurrage would be calculated at the maximum rate

of USD 7,000 (per day pro rata).

       11.    Pursuant to Clause 7 of the Recap and Clause 31 of the Charter Party, cargo

was to be loaded at Norfolk Lamberts Point, Virginia or, in BCSC’s option, at Pier VI at

the rate of 20,000 MT per weather working day of 24 consecutive hours including,

Saturday, Sundays, and holidays.

       12.    Pursuant to Clause 8 of the Recap and Clause 32 of the Charter Party , cargo

was to be discharged in Gdansk, Poland at Port Polnocny Dry Bulk Terminal at the rate of

25,000 MT “per weather working day of 24 consecutive hours, Sundays and holidays

included.”

       13.    On June 7, 2020, the Vessel arrived at Norfolk, Virginia ready to discharge

and tendered notice of readiness at the port at 12:03 LT. The time for laytime and

demurrage calculations began to run at that time.

       14.    Upon the Vessel’s giving of the said notice of readiness, Defendants were

not ready to load cargo.

       15.    The time allowed for loading under the Charter Party was 3.08 days. As

Defendants were not ready, the Vessel accrued a total of 11.82 days waiting to load the

cargo. A copy of the notice of readiness and the time sheet for the Vessel are attached as

Exhibit 2.




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      Case 1:21-cv-00279-TDS-JEP Document 1 Filed 04/01/21 Page 3 of 19
       16.    Upon completion of the voyage to Gdansk, a total of USD 1,241,108.44 was

due to Plaintiff from Defendants, which included lumpsum freight and demurrage for the

discharge and loading operations at Norfolk, Virginia.

       17.    On or about July 24, 2020, Plaintiff submitted the invoice to Defendants for

amounts due and owing for demurrage and freight.

       18.    Over the course of July - September 2020, Defendant BRI, on behalf of

Defendant BCSC, made partial payments to Plaintiff. On information and belief, all or

some of these partial payments related to the Charter Party were remitted by Defendant

BRI on behalf of Defendant BCSC from the Defendants’ account in BB&T Bank (now

Truist Bank) in North Carolina. Taking into account dispatch and broker’s commissions,

the outstanding balance in favor of Norden constituted USD 98,054.37.

       19.    On or about September 18, 2020, Plaintiff re-submitted the invoice to

Defendants for amounts due and owing for demurrage and freight, taking into account the

above partial payments made by Defendants and other deductions. A copy of the invoice

is attached hereto as Exhibit 3.

       20.    On or about November 13, the parties entered into a settlement agreement.

The agreement was evidenced by an invoice for USD 75,000 issued by Plaintiff to

Defendants and containing the following provision:

       This is to confirm that payment of the attached invoice is in full and final settlement
       of all obligations owed by the parties under that certain agreement dated 13th
       November 2020, including any amendments, for M/V PACIFIC MERIT -
       NORDEN/BLUESTONE - C/P 05.22.2020.

       See Exhibit 4 (the “Settlement Agreement”).


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      Case 1:21-cv-00279-TDS-JEP Document 1 Filed 04/01/21 Page 4 of 19
       21.    Despite numerous requests for payment of the outstanding balance and their

clear obligation to remit unpaid demurrage and freight, Defendants have failed, neglected,

or refused to submit payment for the balance of demurrage and freight under the Charter

Party or under the Settlement Agreement.

       22.    On October 28, 2020, Plaintiff’s legal counsel sent to Defendants a letter of

demand requiring them to pay the outstanding USD 98,054.37 (“Outstanding Sum”).

       23.    On March 3, 2021, after Defendants still had not paid the Outstanding Sum,

Plaintiff commenced arbitration against Defendant BCSC under the rules of the London

Maritime Arbitrators’ Association (LMAA) and appointed an arbitrator (the “Arbitration”).

In the Arbitration, Plaintiff seeks to recover the Outstanding Sum, plus interest and legal

costs. A copy of the notice of arbitration is attached hereto as Exhibit 5.


                                RULE B ALLEGATIONS

       24.    Plaintiff respectfully submits that all requirements for issuance for an order

of attachment pursuant to Supplemental Rule B are readily satisfied here. In that regard,

Supplemental Rule B(1)(b) provides, in pertinent part, that “[t]he court must review the

complaint and affidavit and, if the conditions of this Rule B appear to exist, enter an order

so stating and authorizing process of attachment and garnishment.” Supp. Rule B(1)(b).

       25.    It is also well established that the relevant conditions of Rule B look to

whether: 1) [the plaintiff] has a valid prima facie admiralty claim against the defendant; 2)

the defendant cannot be found within the district; 3) the defendant's property may be found

within the district; and 4) there is no statutory or maritime law bar to the attachment.” Vitol,


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      Case 1:21-cv-00279-TDS-JEP Document 1 Filed 04/01/21 Page 5 of 19
S.A. v. Primerose Shipping Co., 708 F.3d 527, 541 (4th Cir. 2013) (citing Aqua Stoli

Shipping Ltd. v. Gardner Smith Pty Ltd., 460 F.3d 434, 445 (2d Cir. 2006)).

       26.    Here, there can be no question that Plaintiff has a valid prima facie admiralty

claim against the Defendant BCSC for failure to pay demurrage and freight pursuant to the

Charter Party, as such failure constitutes a breach of such Charter Party. Additionally, as

set forth in the accompanying Declaration of E. Winslow Taylor, the Defendants cannot be

found within this District for purposes of Supplemental Rule B. However, Defendants’

property is within this District. Lastly, there is no statutory or maritime law bar to the

attachment.


                            ALTER EGO ALLEGATIONS
       27.    In assessing alter ego allegations made in complaints for attachment under

Rule B of the Supplemental Rules for Certain Admiralty and Maritime Claims of the

Federal Rules of Civil Procedure (“Rule B”), courts in the Fourth Circuit consider the

following factors:

       [S]iphoning of funds, failure to observe corporate formalities and maintain proper
       corporate records, non-functioning of officers, control by a dominant stockholder,
       and injustice or fundamental unfairness.” … Other factors properly considered by
       the district court in this case include intermingling of funds; overlap in ownership,
       officers, directors, and other personnel; common office space; the degrees of
       discretion shown by the allegedly dominated corporation; and whether the dealings
       of the entities are at arm's length.

       Vitol, 708 F.3d at 544 (4th Cir. 2013) (quoting Ost-W.-Handel Bruno Bischoff

GmbH v. Project Asia Line, Inc., 160 F.3d 170, 174 (4th Cir. 1998) and Arctic Ocean Int'l,

Ltd. v. High Seas Shipping Ltd., 622 F. Supp. 2d 46, 53 (S.D.N.Y. 2009)).


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      Case 1:21-cv-00279-TDS-JEP Document 1 Filed 04/01/21 Page 6 of 19
       28.      Defendants BCSC and BRI so blurred the lines between their corporate

personalities and their purportedly separate existences that they should be treated as alter

ego entities.

       29.      In addition, Defendants abused the corporate form in order to perpetrate a

fraud, injustice, or other wrongdoing, as more fully described herein.

       30.      Accordingly, any property owned or controlled by Defendant BRI in this

District should be considered owned and controlled by Defendant BCSC as its alter ego.

       31.      The below allegations of fact are based primarily on depositions of several

shareholders and officers of companies in the larger Bluestone group (of which Defendants

are part), including James C. Justice III, President and shareholder (hereinafter – “Justice

III Depo”); Stephen Ball, general counsel, (hereinafter – “Ball Depo”), and James T.

Miller, secretary and/or treasurer (hereinafter – “Miller Depo”). These depositions were

taken by the US Attorney’s Office in connection with contempt of court proceedings

brought in 2019 against Justice Energy Company, Inc. (“Justice Energy”) for non-payment

of a court-ordered sanction in the amount of USD1,230,000.1 The depositions of Ball,

Justice III and Miller are attached as Exhibits 6, 7 and 8, respectively.

       32.      As a result of these depositions, the US Attorney’s Office moved to impose

alter ego liability on a number of specifically named Bluestone entities, including BRI, as

well as on “other corporations controlled [by] James C. Justice II and James C. Justice III

(“the Justices”)”. The US Attorney’s office found that an alter ego relationship existed


1
 James River Equipment Virginia, LLC and United States of America v. Justice Energy
Company, Inc., Civil Action No. 5:13-cv-28160 (S.D.W. Va.).
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      Case 1:21-cv-00279-TDS-JEP Document 1 Filed 04/01/21 Page 7 of 19
between Justice Energy, BRI, other corporations controlled by the Justices, and the Justices

themselves. The US Attorney’s motion to impose alter ego liability (summarizing the

depositions) and its letter to counsel for Justice Energy are attached as Exhibit 9.


Common ownership, personnel, addresses; control by dominant stockholders; non-
functioning of officers

       33.    On information and belief, both Defendants have the same shareholders.

James C. Justice II (“Justice II”) is a resident of West Virginia and owns 60% of the

ownership interest in both Defendants. James C. Justice III (“Justice III”) is the son of

Justice II, a resident of Virginia and the CEO and President of both Defendants. Justice III

owns 40% of the ownership interest in both. Both Defendants and the Justices admit as

much. See Exhibit 10, ¶30.

       34.    On information and belief, the Justices exercise ultimate control over both

Defendants and the larger Bluestone group of companies. [Justice III Depo, p. 10, 15:22;

Ball Depo, p. 13, 1:7]. Justice III serves as the president of all companies in the Bluestone

group, oversees their operations, and is the ultimate decision-maker for the group [Justice

III Depo, p. 13-14, 8:24-1; Ball Depo, p. 17, 2:18].

       35.    On information and belief, the Bluestone companies (including BRI and

BCSC) also share the same lower officers. For example, James T. Miller acts as the

treasurer, secretary, or both in all Bluestone entities [Justice III Depo, p. 18, 5:12],

including BRI. See Exhibit 9, ¶30. As Mr. Miller admits, even though he serves in these

positions, he does not have any real involvement in the corporate affairs of the Bluestone

companies [Miller Depo, p. 11, 2:5, 11:14].

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      Case 1:21-cv-00279-TDS-JEP Document 1 Filed 04/01/21 Page 8 of 19
       36.    On information and belief, despite being formally registered in Delaware,

BRI and BCSC are operated out of a common office space at 302 S. Jefferson Street,

Roanoke, Virginia [Ball Depo, p. 22, 8:19; see also Exhibits 1, 11]. The Delaware

addresses are “care of” the Corporation Trust Company, and no employees or offices of

Bluestone are located there.

       37.    On information and belief, BRI and BCSC, as well as other Bluestone group

entities maintain email addresses in the same “@bluestoneindustries.com” domain.


Failure to observe corporate formalities, intermingling of funds; domination by BRI

       38.    On information and belief, BRI is the ultimate corporate parent of other

Bluestone companies [Ball’s Depo, p. 22, 14:16, p. 39, 9:13; p. 71, 8:19]. BCSC functions

as the sales department of the Bluestone group which sells coal mined at facilities

controlled by other affiliate companies. [Id., p. 25, 16:24]. All revenues generated by BCSC

from the sales are then taken by BRI [Id.].

       39.    On information and belief, BRI’s role in the corporate structure controlled

by the Justices is to provide administrative, payroll, accounting, and financial services to

all other Bluestone entities [Id., p. 22-23, 14:16, 24:3]. For example, BRI paid invoices

issued to BCSC by BCSC’s creditors. See Exhibit 12. In addition, BRI funds shortfalls of

other Bluestone entities operating at a deficit, using revenues provided by BCSC [Ball’s

Depo, p. 26, 1:6].

       40.    On information and belief, BRI files consolidated tax returns for both itself

and other Bluestone companies [Id., p. 24, 12:23]. Also, BRI disburses funds for salaries


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      Case 1:21-cv-00279-TDS-JEP Document 1 Filed 04/01/21 Page 9 of 19
and other purposes to its subsidiaries in the group from its account with BB&T Bank (now

Truist Bank) in North Carolina [Id., p. 25, 2:12]. Further, BRI maintains a group insurance

policy which allocates benefits among these subsidiaries based on the quantity of coal

produced by each [Id., p. 27, 6:15].

       41.    On information and belief, Bluestone companies fail to observe corporate

formalities and, with rare exception, dispense with shareholder or board of directors’

meetings, and take corporate decisions “by agreement” with meetings occurring “on paper”

[Id., p. 34-35, 9:3; Justice III Depo, p. 10, 5:14].

       42.    BRI fully dominates and controls BCSC as the parent company in the

Bluestone group. In turn, both Defendants are entirely owned and managed by the Justices.

BCSC and BRI fail to observe basic corporate formalities, and their lower officers are

nominal and do not participate in corporate affairs. Defendants share common office space

and email addresses. The dealings between BCSC and BRI are not at arm's length. In fact,

BCSC’s funds generated from coal sales are consistently siphoned off to BRI,

intermingled, and then disbursed to other Bluestone companies.

       43.    As a result, Defendants BCSC and BRI so blurred the lines between their

purportedly separate existences that they should be treated as alter ego entities.

Accordingly, any property owned or controlled by BRI in this District should be considered

owned and controlled by BCSC as its alter ego.




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      Case 1:21-cv-00279-TDS-JEP Document 1 Filed 04/01/21 Page 10 of 19
Injustice or fundamental unfairness in the use of corporate form

       44.    On information and belief, Defendants made repeated misrepresentations to

Plaintiff that Defendants intended to pay the outstanding balance of freight and demurrage

due and owing to Plaintiff under the charter party agreement. This includes Defendants’

offer to enter into a settlement agreement in the amount of USD75,000. Defendants

intentionally engaged in other dilatory tactics to avoid payment to Plaintiff. Defendants

never intended to pay or comply with the terms of the settlement.

       45.    The above constitutes an abuse of the Defendants’ corporate form and

wrongdoing against Plaintiff, who relied on said misrepresentations and was deterred by

Defendants’ dilatory tactics from commencing immediate legal or arbitration proceedings

against Defendants over the course of several months from September 2020 until March

2021. In the meantime, Plaintiffs’ prospects of recovery from Defendants have been

seriously jeopardized by Defendants’ ailing financial position and the number and amount

of other creditors’ claims against Defendants’ assets.

       46.    Over the course of September and October 2020, persons acting on behalf of

Defendants in connection with the charter party for M/V Pacific Merit made repeated

express and implied representations (including by disputing minor discrepancies in the

calculations of demurrage) that Defendants intended to pay the outstanding freight and

demurrage to Plaintiff.

       47.    On or about November 13, 2020, persons acting on behalf of Defendants

offered Plaintiff to settle the outstanding debt by entering into a settlement agreement for



                                            11



     Case 1:21-cv-00279-TDS-JEP Document 1 Filed 04/01/21 Page 11 of 19
USD 75,000. The settlement was agreed orally, with Defendants making implied

representations that they were ready and willing to pay the settlement amount.

       48.    In fact, persons acting on behalf of Defendants insisted that the settlement

include wording releasing all obligations of the parties under the charter party for M/V

Pacific Merit in full. Relying on Defendant’s representations, Plaintiff agreed to this

wording and issued its invoice for USD 75,000, which Defendants never paid. See Exhibit

4.

       49.    It was reasonable for Plaintiff to rely on the settlement agreement and

Defendants’ implied promises to make payment, since instances of delay in payment of

demurrage are common in the industry.

       50.    Plaintiff did rely on the settlement and Defendants’ promises and

misrepresentations by deciding not to commence immediate legal or arbitration

proceedings against Defendants to swiftly collect the outstanding amounts. Due to

Defendants’ misrepresentations, Plaintiff was misled into waiting for payment for more

than 6 months.

       51.    By the time Plaintiff commenced the proceedings before this Court, it

transpired that the Bluestone group of companies, including BRI and BCSC, became a

victim of a large-scale fraud committed by Greensill Investment (UK) Ltd, Bluestone’s

long-term investment provider. According to Defendants, the fraud resulted in a loss of

assets in excess of USD 200,000,000 and caused substantial other damage to Bluestone’s

business, which is yet to be calculated. See Exhibit 10, ¶23.



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     Case 1:21-cv-00279-TDS-JEP Document 1 Filed 04/01/21 Page 12 of 19
       52.    Not until Plaintiff commenced proceedings before this Court did it learn that

in May 2020, an ICC arbitral tribunal sitting in Paris ordered Bluestone to pay in excess of

USD 10,000,000 to Caroleng Investments Ltd. In fact, in December 2020, Caroleng

petitioned to enforce the award against Bluestone’s assets in the US.2

       53.    Plaintiff also discovered that on March 3, 2020 another Rule B attachment

securing up to USD 1,700,000 was granted by this Court against Defendants’ bank account

in BB&T Bank (now Truist Bank),3 which account is the subject of the present proceedings.

       54.    The above proceedings and litigation affecting Defendants seriously

threatens Plaintiff’s prospects of recovery from Defendants. According to publicly

available information regarding Defendants’ financial position, BRI’s annual revenue in

2021 is modelled to reach only USD 4,500,000 while BCSC’s revenue is estimated to be

only USD 34,669. See Exhibit 13.

       55.    As a result, Plaintiff would have been in a much more favorable position to

recover the outstanding freight and demurrage from Defendants in the fall of 2020 but did

not do so due to Defendants’ misrepresentations.

       56.    By making misrepresentations to Plaintiff as described above, Defendants

abused the corporate form, committed a wrongdoing against Plaintiff, and must now be

treated as a single entity for the purposes of the requested attachment.




2
 Caroleng Investments Limited v. Bluestone Resources, Inc., 1:20-cv-01793 (D. Del.), Dkt 2, 5.
3
 DH-Dhekelia Ship Management Limited, v. Bluestone Coal Sales Corporation et al, 1:21-cv-
00135 (M.D.N.C).
                                              13



      Case 1:21-cv-00279-TDS-JEP Document 1 Filed 04/01/21 Page 13 of 19
                     APPLICATION FOR ATTACHMENT
                 UNDER SUPPLEMENTAL ADMIRALTY RULE B

       57.    Plaintiff restates and realleges the allegations of paragraphs 1 – 56 above as

though fully rewritten herein.

       58.    Plaintiff’s claim against Defendants for unpaid demurrage and freight is a

maritime claim. This is an ancillary proceeding to secure jurisdiction and security over

Defendants.

       59.    Interest, costs, and attorney’s fees are routinely awarded to the prevailing

party under English Law and the procedural rules of London arbitration. It is standard for

interest to be awarded to the prevailing party in the amount of 4.5% to 5.5%, compounded

quarterly.

       60.    Plaintiff expects to recover the following amounts in arbitration from

Defendant Bluestone:

              A. Demurrage and freight: USD 98,054.37

              B. Estimated Interest for Principal Claim: USD 3,238.85
              (239 days at 5.0% interest compounded quarterly)

              C. Estimated Arbitration Costs, English Solicitor and Counsel Fees: USD

              25,000

              TOTAL: USD 126,293.22.

       61.    Plaintiff’s total claim for demurrage and freight, plus applicable interest,

costs, and fees in the aggregate is estimated to be no less than USD 126,293.22 (the

“Claimed Amount”).



                                            14



      Case 1:21-cv-00279-TDS-JEP Document 1 Filed 04/01/21 Page 14 of 19
       62.     Defendants are not present and cannot be found in the District within the

meaning of Rule B. See Attorney Declaration of E. Winslow Taylor attached hereto as

Exhibit 14.

       63.     Upon information and belief, Defendants do have within the District tangible

or intangible personal property which is subject to attachment and in the hands of parties

who may be named garnishees in the process of maritime attachment and garnishment.

Specifically, Defendants have assets in the form of property in a bank account maintained

at BB&T Bank (now Truist Bank). A copy of a SWIFT message containing Defendants’

bank account information is attached as Exhibit 12.

       64.     BB&T Bank (now known as Truist Bank) is a corporation found within the

District with an address at 7701 Airport Center Drive, Suite 2700, Greensboro NC 27409

and subject to service of process as a garnishee in this matter.4

       65.     Prior payments by Defendants to Plaintiff have been remitted by BRI from

its BB&T Bank (now Truist Bank) U.S. dollar bank account located within the District. Id.

       WHEREFORE, Plaintiff prays as follows:

       1.      That the Clerk of Court issue Process of Maritime Attachment and

Garnishment pursuant to Rule B, as prayed for in the Verified Complaint, against all bank

accounts, checks, payments made to, held or which may be receivable by, the garnishees

on behalf of Defendants, monies, disbursement advances, goods or other services,


4
  Due to the recent stay-at-home order, this branch location may be temporarily closed, operating
with limited hours, or may limit the public access. Accordingly, Plaintiff respectfully request that
it be ordered that service of process on garnishee may be attempted at any BB&T (now Truist)
branch that is open and will accept service of process.
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      Case 1:21-cv-00279-TDS-JEP Document 1 Filed 04/01/21 Page 15 of 19
documents of title, shares of stock or other financial instruments and any other funds,

collateral or property of any kind belonging to, claimed by, or held for the benefit of

Defendants within this District in an amount up to USD 126,293.22 pursuant to

Supplemental Rule B, and the same be attached as may be found in the possession, custody,

or control of the garnishee(s) or which are found in the possession or control of specific

garnishee Truist Bank (formerly BB&T Bank) and said Order being equally applicable

with respect to the issuance and service of additional Writs of Maritime Attachment and

Garnishment upon any garnishee in this district not named therein; and

       2.     That all persons claiming any interest in the property attached or garnished

pursuant said Order, upon application to the Court, be entitled to a prompt hearing in which

the Plaintiff shall be required to show why the attachment should not be vacated or further

relief granted; and

       3.     That supplemental process enforcing this Order may be issued by the Clerk

upon application without further order of the Court; and

       4.     That a copy of this Order be attached to an served with the Writ of Maritime

Attachment and Garnishment; and

       5.     That pursuant to Rule B(1)(b)(ii) E. Winslow Taylor, of Taylor & Taylor

Attorneys at Law, PLLC, counsel for Plaintiff is specially appointed to make service of the

Writ of Maritime Attachment or Garnishment, along with a copy of the Verified Complaint

and other ancillary documents in this action. Mr. Taylor may further appoint or engage any

other person at least 18 years of age and not a party to this action to make service of process

in this action without further order from the Court; and

                                              16



      Case 1:21-cv-00279-TDS-JEP Document 1 Filed 04/01/21 Page 16 of 19
       6.     That following the initial service by the United States Marshal or other duly-

designated process server upon the garnishee, supplemental service of Writ of Maritime

Attachment or Garnishment, as well as this Order, may be made by e-mail of facsimile

transmission to the garnishee; and

       7.     That Pursuant to Federal Rule of Civil Procedure 5(b)(2)(D), the garnishee

may consent, in writing, to accept service by any other means; and

       8.     That any tangible or intangible property in the hands of the garnishee(s) and

attached pursuant to this Order may be released from seizure without the necessity of

further orders of this Court, provided that the Marshal or garnishee(s) receives written

authorization to do so from the attorney who requested the attachment and garnishment

stating that he has conferred with all attorneys representing parties to the litigation and they

consent to the request for the release, and also provided that the Court has not entered any

subsequent orders modifying this arrangement for the release of the property which was

attached pursuant to this Order; and

       9.     That service of the garnishee as described above is deemed continuous

throughout the day from the time such service through the opening of the garnishee’s

business on the next business day.

       10.    Service on any garnishee, as described above, is deemed effective continuous

service throughout the day from the time of such service through the opening of the

garnishee’s business the next business day.




                                              17



      Case 1:21-cv-00279-TDS-JEP Document 1 Filed 04/01/21 Page 17 of 19
Dated: April 1, 2021

                                             Respectfully submitted,

                                             By:

                                             /s/ Luke F. Zadkovich
                                             Luke F. Zadkovich
                                             Edward W. Floyd
                                             Eva-Maria Mayer
                                             Zeiler Floyd Zadkovich (US) LLP
                                             luke.zadkovich@zeilerfloydzad.com
                                             ed.floyd@zeilerfloydzad.com
                                             Telephone: (917) 999 6914
                                             215 Park Ave South, 11th Floor
                                             New York, New York 10003
                                             PRO HAC VICE ATTORNEYS FOR
                                             PLAINTIFF (to be filed)




/s/ E. Winslow Taylor
E. Winslow Taylor
Daniel R. Taylor Jr.
Taylor & Taylor Attorneys at Law PLLC
NC Bar #: 45533
418 N. Marshall St., Suite 204
Winston-Salem, NC 27101
Tel.: 336-418-4745
Email: Winslow@t2legal.com
LOCAL ATTORNEY FOR PLAINTIFF




                                        18



     Case 1:21-cv-00279-TDS-JEP Document 1 Filed 04/01/21 Page 18 of 19
                                      VERIFICATION

         Pursuant to 28 U.S.C. § 1746, I, Luke Francis Zadkovich, declare and state under

penalty of perjury that the foregoing is true and correct:


         1.     I have read the foregoing Verified Complaint and know the contents

therefore and that the same are true to my knowledge, except as to matters therein stated to

be alleged on information and belief, and as to those matters I believe them to be true.


         2.     The source of my information is documents, records, and other information

supplied by the Plaintiff and/or its representatives related to this matter, and the Defendants

herein, which I have reviewed.


         3.   This verification is made by me because Plaintiff is a foreign corporation with

its principal place of business in a foreign country.


         4.     I am an attorney representing D/S Norden A/S., the Plaintiff in this matter,

and am authorized to sign this Verification.


         I declare under penalty of perjury that the foregoing is true and correct.


Dated:          April 1, 2021



                                     By: ____________________________

                                          Luke F. Zadkovich
                                          Partner, Zeiler Floyd Zadkovich




                                               19



      Case 1:21-cv-00279-TDS-JEP Document 1 Filed 04/01/21 Page 19 of 19
